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BENJAMIN B. WAGNER ; . Fil os |
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JILL M. THOMAS

Assistant U.S, Attorney JAN 1 4 206

501 I Street, Suite 10-100 CLE” 1).S. DISTRICT COURT

Sacramento, CA 95814 EASTERN DISTRICT OF CALIEQRNIA
(916) 554-2700 | ee :
ANDREW SIGLER
Trial Attorney, National Security Division

U.S. Department of Justice

950 Pennsylvania Avenue
Washington, D.C. 20530

Attorneys for Plaintiff
United States of America

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

2:16 - CR- 0008 McE

UNITED STATES OF AMERICA, CASE NO.

Plaintiff, VIOLATION: 18 U.S.C. §
: 1001L(a) (2)- False Statements

Vv. Involving International Terrorism

AWS MOHAMMED YOUNIS AL-JAYAB,

Defendant.

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' INDICTMENT

The Grand Jury charges: THAT

AWS MOHAMMED YOUNIS AL-JAYAB,
defendant herein, on or about October 6, 2014, in the County of
Sacramento, State and Fastern District of California, in a matter
within the jurisdiction of the Executive Branch of the Government of
the United States, to wit: the United States Citizenship and

Immigration Services (USCIS), a component of the United States

 
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Department of Homeland Security (DHS), did knowingly and willfully
make the following materially false, fraudulent, and fictitious
statements and representations:

1) When directed to list the countries he visited during the
last time he traveled outside the United States, in 2013 to 2014, AL-
JAYAB responded that he went to Turkey, and from Turkey he went to

Britain and returned to the United States. This response was false

because, as defendant AL-JAYAB then and there well knew, he traveled

to Syria, and his travel was not confined to Turkey and Britain
before returning to the United States;

2) When asked the purpose of his trip, AL-JAYAB responded that
he went to Turkey to see his grandmother and to visit the place.

This response was false because, as defendant AL-JAYAB then and there

‘well knew, he went to Turkey to get to Syria and for reasons other

than to visit his grandmother;

3) In response to the question “Have you ever been a member of
any rebel group, militia, or insurgent organization?” AL-JAYAB
responded “No.” This response was false because, as defendant AL-
JAYAB then and there well knew, while he was in Syria between on or
about November 19, 2013 and on or about January 17, 2014, he was a
member of a rebel group, militia, and insurgent organization.

4) In response to the question “Have you ever assisted any
rebel group, militia, or insurgent organization?” AL-JAYAB responded
“No.” This response was false because, as defendant AL-JAYAB then |
and there well knew, while he was in Syria between on or about
November 19, 2013 and on or about January 17, 2014, he assisted a
rebel group, militia, and insurgent organization.

5) In response to the question “Have you ever solicited

 
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membership or funds for any terrorist group or organization?” AL-
JAYAB responded “No.” This response was false because, as defendant
AL-JAYAB then and there well knew, he had solicited in April 2013 a
person known to the grand jury and referred to herein as Person A to
become a member of a terrorist group or organization.

6) In response to the question “Have you ever provided any
type of material support to any person or group that engages in
terrorist activity?” AL-JAYAB responded, “No.” This response was
false because, as defendant AL-JAYAB then and there well knew, while
he was in Syria between on or about November 19, 2013 and on or about
January 17, 2014, he provided material support to a person and group
engaged in terrorism.

7) In response to the question “Have you ever called for,
helped with, or committed the killing of any person?” AL-JAYAB
responded, “No.” This response was false because, as defendant AL-
JAYAB then and there well knew, while he was in Syria between on or
about November 19, 2013 and on or about January 17, 2014, he called
for and helped with the killing of a person.

8) In response to the question “Have you ever called for,
helped with, or committed the intentional and severe injury of any
person?” AL-JAYAB responded, “No.” This response was false because,
as defendant AL-JAYAB then and there well knew, while he was in Syria
between on or about November 19, 2013 and on or about January 17,
2014, he called for and helped with the intentional and severe injury
of a person.

9) In response to the question “Have you ever been a member of
a group of any kind in which you used or threatened to use any type

of weapon against any person?” AL-JAYAB responded, “No.” This

 
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response was false because, as defendant AL-JAYAB then and there well
knew, while he was in Syria between on or about November 19, 2013 and
on or about January 17, 2014, he was a member of a group in which he

used and threatened to use a weapon against a person.

10) In response to the question “Have you ever assisted in a
group where other people used or threatened to use a weapon against
any person?” AL-JAYAB responded, “No.” This response was false
because, as defendant AL-JAYAB then and there well knew, while he was
in Syria between on or about November 19, 2013 and on or about
January 17, 2014, he assisted a group where other people used and
threatened to use a weapon against a person.

This offense involved international terrorism.

In violation of Title 18, United States Code, Section

1001 (a) (2).

A TRUE BILL.

{si Signature on file w/AUS.

 

FOREPERSON

 
   

  

IN B. WAGNER
United States Attorney

 

 

 
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2TS - CR - 0008 pice
UNITED STATES DISTRICT COURT

Eastern District of California
Criminal Division

THE UNITED STATES OF AMERICA

VS.

AWS MOHAMMED YOUNIS AL-JAYAB

 

INDICTMENT

VIOLATION(S): 18 U.S.C. § 1001(a)(2) — False Statements Involving International Terrorism

 

A true bill,

/s/ Signature on file w/AUSA

 

 

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PENALTY SLIP
DEFENDANT: AWS MOHAMMED YOUNIS AL-JAYAB
VIOLATION: 18 U.S.C. § 1001(a)(2) — False Statements Involving International
Terrorism
PENALTY: Up to 8 years imprisonment
$250,000 fine or both,

3 year term of supervised release

PENALTY ASSESSMENT: $100.00
